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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

SUSAN CHEW; MARIANNE “MUFFY”
DAVIS

CASE NO.
Plaintiffs
AFFIDAVIT OF MELISSA

Vv WINTROW

THE LEGISLATURE OF THE STATE OF
IDAHO; SCOTT BEDKE in his capacity as
ADMINISTRATOR OF THE

HOUSE OF REPRESENTATIVES

Defendants

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STATE OF IDAHO )
County of Ada )

MELISSA WINTROW being first duly sworn deposes and says:

Until December 4, 2020, I was a member of the House of Representatives from District
19 which includes much of the area in Boise that is North of the Boise River. I have been a
member of the Governor of Idaho’s Coronavirus Financial Advisory Committee since April,
2020. The Committee has a website and posts our general charge and minutes on that site. I have
reviewed it and it is generally accurate to the best of my knowledge and belicf. The site may be
accessed at: https://coronavirus.idaho.gov/coronavirus-financial-advisory-
/#.~:text=Governor’20Brad%20L ittle%20siened%20an fight%20the%20CO VID%2D 19%20pa

ndemic.

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The Committee is charged with advising the Governor how to distribute funds. The
charge from the Governor as stated at the website, and in accord with my understanding part of
the charge is:

“The Governor’s Coronavirus Financial Advisory Committee will make
recommendations to ensure the federal funds are appropriately prioritize
and efficiently distributed across state, local and tribal governments. It also
will play a critical oversight role to ensure the federal funds are used
judiciously and appropriately.”

The Committee recommended and—based upon my participation in the Committee—I have
understood that $1,256,134 plus an additional $20,000 for closed captioning in funds
were appropriated to the Idaho Legislature. The recommendation was made at the
meeting on July 15, 2020. These are the CFAC minutes from 7/15/20 which were
approved, with my vote, by the Committee:

The purpose of this CFAC meeting was to hear one agenda item presented by
Legislative Services Chairman Adams started the meeting at 3:01pm with all
members present except Dennis Johnson. Eric Milstead of Legislative Services
Office presented the ask from legislative services to bolster IT services and
equipment at the Idaho Statehouse for the coming working groups, organizational
session, and beyond. This request would help the legislature stream its
committees and meetings through Idaho Public TV to the public by putting
additional video cameras in each of the committee rooms — this would be an
upgrade from currently only having two committee rooms with video camera
capacity. This work will support public access and engagement in the legislative
process while social distancing guidelines are in order. Senator Bair moved to
support the request as proposed, seconded by Shawn Keough. Representative
Wintrow made an alternate motion that moved to support the request as proposed
along with provisions to ensure that the interim work was presented with closed
captioning, totaling an extra $20,000 for the project. Matt Newton seconded the
alternate motion. The alternate motion was voted on first and passed
unanimously.

Part of our charge from the Governor is to carefully examine each proposed
recommendation and to understand how the money will be spent. The money was to be

spent on programs and services directly impacted by COVID-19, were not originally

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budgeted, and would be spent by December 31, 2020. The Chair was consistent in
questioning proposals to be sure that each met the federal guidelines before we approved
funds.

As a House member, I participated in a working group with Judiciary and Rules to
discuss legislation regarding civil liability; the working group met using an electronic
platform that was supported by the appropriation made on July 15, 2020.

I also served on the House Judiciary and Rules Committee until December 4, 2020
and I was present and participated in the meetings it held on August 24 and August 25.
Plaintiff Marianne “Muffy” Davis is also a member of the committee and she was present
and participated.

I arrived at the Idaho Statehouse just in time for the House session to begin where
I saw the entire gallery full of people who were being quite loud and had to be reminded
by the Speaker to act civilly and maintain appropriate decorum. I remember being
surprised by this as I was told that the Speaker had arranged for the gallery to be used by
the Minority party members to physically distance off the floor and would then come
back to the floor for a vote. When the House session concluded, legislators were
dismissed to attend their respective committees. I left the House floor to go to the
Judiciary and Rules Committee hearing room. | arrived on the ground floor and saw a
very large group of people (30-40) who were not wearing masks and were not physically
distancing. People were milling around everywhere. I was wearing a mask and trying to
adhere to CDC safety protocols. I could not get through the hallway safely, so using my
keycard, I entered the committee room entry way and made my way through the private

hallway behind the committee rooms to enter the committee room from the rear entrance.

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When I arrived at the committee room, I could hear a lot of noise emanating from the
hearing room, people yelling very loudly. When the door opened, I saw a packed hearing
room with people without masks and yelling at one of the State Police officers, At that
point, I decided it wasn’t safe to enter such a crowded room of unmasked people, and the
legislators in the room started to leave. I heard the chair indicate that we would go to the
Lincoln auditorium where we would conduct our business instead. I had the impression
that the doors would be locked, and it would just be the committee in the room. I got to
the committee room and saw many chairs with signs on them indicating that they were
not to be used to provide physical distancing. I took a seat on the very end of the front
row. | believe that Muffy Davis was two seats away from me to provide for physical
distancing. As I sat there, people started to flood into the room and soon every seat was
taken; there was no physical distancing observed and most people I saw were not wearing
masks, As the committee started, I did not feel safe, so I called House Minority leader,
Rep. Ilana Rubel, to let her know that I didn’t feel safe in such a crowded room where no
one was adhering to physical distancing or masks in addition to the fact that we were well
over meeting capacity for Stage 3 of the local public health district orders. She suggested
I take a privilege as a courtesy to let the chair know that I would be leaving the
committee due to safety concerns. | took a privilege and let the chair know that I would
be leaving. Once | did that, the crowd screamed and jeered at me. | left the hearing room
and went to the Speaker’s Office. I spoke to Speaker Bedke about my concerns for safety
and that according to our rules, I should be allowed to participate and vote in order to
represent my district. After some discussion, he agreed to a “compromise” to allow me to

stream the committee hearing and then enter to vote. I maintained my objection that by

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sitting outside the committee room, I would be prevented from asking questions and
participating, meaning I couldn’t represent my constituents. I went to the cafeteria and
began streaming the committee hearing that was being held in the Lincoln Auditorium.
On day two of the hearings, I was going to rejoin the committee if fewer pcople were
there, so as the committee started, | opened the rear door to enter and saw a commotion in
the front of the room and heard people yelling, so I left again. After some time, the
committee went back to the Judiciary and Rules Committee room where the committee
chairs were physically distanced. The doors were locked so no one could enter. I helped
the Speaker and the Committee Chair remove chairs to limit the number of people in the
room. After that, I believe that no more than 8-10 people were permitted in the room at a
time and people were allowed in as they were ready to testify. I was sitting on the very
end nearest to the audience; I felt much better with fewer people, but there were still
people entering the room not wearing masks and most of the committee was not wearing
masks. The committee proceeded with the hearings and concluded business where we

then returned to the House floor.

Dated this ly "day of January, 2021

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ECS WINTROW

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SUBSCRIBED AN ROME! Sa before me this G7 day of January, 2021 _

 

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